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                    UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MASSACHUSETTS


JOSE MARIA DeCASTRO,
a/k/a CHILLE DeCASTRO,
a/k/a DELETE LAWZ,                           Case No. 1:22-cv-11421-ADB

           Plaintiff and
           Defendant-in-Counterclaim

      v.

JOSHUA ABRAMS a/k/a
ACCOUNTABILITY FOR ALL
and KATE PETER a/k/a
MASSHOLE TROLL MAFIA,

           Defendants and
           Plaintiffs-in-Counterclaim, and

GOOGLE LLC,

           Defendant.


 DEFENDANT GOOGLE LLC’S MOTION AND MEMORANDUM OF REASONS
     TO TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA
              OR, IN THE ALTERNATIVE, TO DISMISS
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I.       INTRODUCTION

         Defendant Google LLC (“Google”)1 respectfully submits this motion and memorandum of

reasons to transfer the case against Google to the Northern District of California under 28 U.S.C.

§ 1404(a), or, in the alternative, to dismiss the case against Google under Fed. R. Civ. P. 12(b)(6).

         Pro se Plaintiff Jose DeCastro (“Plaintiff”), in the sole count of his Amended Complaint

alleges copyright infringement against Google and several other defendants. At least as to Google,

the Court need not take up Plaintiff’s glaring pleading failures or the lack of merit in his claims,

because Plaintiff filed suit in the wrong court. Pursuant to the forum-selection clause in YouTube’s

Terms of Service (“TOS” or “Terms”)—an agreement he plainly entered into as a condition of

using Google’s YouTube service—Plaintiff promised to pursue any federal litigation regarding the

service exclusively in the Northern District of California. The Supreme Court has made clear that

“a valid forum-selection clause [should be] given controlling weight in all but the most exceptional

cases.” Atl. Marine Constr. Co. v. United States Dist. Ct. for the W. Dist. of Tex., 571 U.S. 49, 63

(2013) (citation omitted). An unbroken line of cases have held that YouTube’s forum-selection

clause is valid and enforceable, and have applied it to transfer cases like this one to the parties’

designated forum—the Northern District of California. See, e.g., Trump v. Youtube, LLC, 2021

U.S. Dist. LEXIS 258273, at *36 (S.D. Fla. Oct. 6, 2021); Kifle v. YouTube LLC, 2021 U.S. Dist.

LEXIS 168267, at *9 (N.D. Ga. Mar. 12, 2021); Muhammad v. YouTube, LLC, 2019 U.S. Dist.

LEXIS 92358, at *7-8 (M.D. La. June 3, 2019); Seaman v. YouTube, LLC, No. 3:18-cv-833-HEH,




     1
      Plaintiff refers in his Supplemental Complaint to “YouTube (GOOGLE LLC),” which he
shortens to “YouTube”. Supp. Compl. (ECF No. 79) at 1. For avoidance of doubt, the Defendant
here is Google LLC, the entity that waived service of summons at Plaintiff’s request. ECF No. 99.
Google LLC wholly owns YouTube, LLC (see Rule 7.1 Disclosure filed herewith), and “[t]he
entity providing the [YouTube] Service is Google LLC.” Ex. A at 3
(https://www.youtube.com/t/terms).



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Dkt. 20 at 6 (E.D. Va. Apr. 5, 2019) and No. 4:19-cv-01903-SBA, Dkt. 20 at 1 (N.D. Cal. Apr. 5,

2019); Song fi, Inc. v. Google Inc., 72 F. Supp. 3d 53, 64 (D.D.C. 2014).

        This case is no different. It clearly arises from the YouTube service, charging Google with

failing to take down content that Plaintiff posted there, and then others copied. The terms of the

agreement governing Plaintiff’s access to and use of the service are clear about where such a

dispute belongs: “All claims arising out of or relating to these terms or the [YouTube] Service

. . . will be litigated exclusively in the federal or state courts of Santa Clara County, California,

USA.” Ex. A at 15. Plaintiff’s claims fall squarely within this mandatory forum-selection clause.

Accordingly, his “choice of forum merits no weight,” Atl. Marine, 571 U.S. at 63, and the case

against Google must be transferred to the Northern District of California.

        Even if this case was properly venued here, Plaintiff’s claims against Google cannot

proceed on its merits. Most obviously, Plaintiff has not satisfied a necessary condition to bringing

a copyright infringement claim: he nowhere alleges that he registered any of the works that were

infringed with the U.S. Copyright Office. That requires immediate dismissal, because “[17 U.S.C.]

§ 411(a) bars a copyright owner from suing for infringement until ‘registration . . . has been

made.’” Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881, 888 (2019).

The Court need go no further to dismiss the case. Beyond that, Plaintiff’s barebones complaints

are little more than “[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements,” and fall well short of the requirement that they must “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). Finally, even if Plaintiff managed to make out an infringement claim, the license he




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granted YouTube and others via YouTube’s Terms clearly covers and bars the claims against

Google that he now tries to assert.

          For all these reasons, this Court should transfer this case to the Northern District of

California or, in the alternative, dismiss it for failure to state a claim.

II.       FACTUAL AND PROCEDURAL BACKGROUND

          A.     YouTube and Its Terms of Service

          Google LLC, with its wholly owned subsidiary YouTube, LLC (collectively, “Google”)

operates the YouTube service, which allows users to “watch and share videos and other content,

provides a forum for people to connect, inform, and inspire others across the globe, and acts as a

distribution platform for original content creators and advertisers large and small.” Declaration of

Raquel Small (“Decl.”) Ex. A at 2 (TOS).2 YouTube allows visitors to access and use its service—

including by creating channels and uploading videos free of charge—provided they agree and

adhere to the TOS. Decl. ¶¶ 2-3. The Terms govern the relationship between YouTube and its

users, including Plaintiff. Id. ¶ 3.

          Users may post content to their own “channels.” Decl. ¶ 7. In order to create a channel and

upload content to YouTube, every user is required to accept the TOS. Id. For example, in the

current version of the sign-up process, when users create a channel, they are informed that “By

tapping Create Channel you agree to YouTube’s Terms of Service.” Id. The phrase “YouTube’s

Terms of Service” appears in blue font, and links to the complete text of the TOS. Id. By clicking



      2
      Materials not attached to the complaint “may be consulted if the[ir] authenticity ... [is] not
disputed by the parties, they are central to [the] plaintiff[’s] claim,” or they are “sufficiently
referred to in the complaint.” Schaefer v. Indymac Mortg. Servs., 731 F.3d 98, 100, n. 1 (1st Cir.
2013) (internal quotations and citations omitted). The TOS governs the relationship between
Plaintiff and the YouTube service and is thus central to his claim, and its text is publicly available
and cannot reasonably be questioned. See https://www.youtube.com/t/terms.




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“Create Channel,” users agree to abide by the TOS. Id. The user cannot activate the channel or

post content to the site without accepting the TOS. Id.

        Certain users are invited to join the YouTube Partner Program, in whichYouTube pays

them a portion of the revenue attributable to the videos they upload, conditioned on their agreement

to the YouTube Partner Program Terms. Decl. ¶ 10. Plaintiff Jose DeCastro is a member of the

YouTube Partner Program, and as such has agreed to the YouTube Partner Program Terms in

addition to the general TOS (“YPP Terms”). Id.; see also Decl. Ex. B (YPP Terms); Am. Compl.

¶ 3 (ECF No. 62) (“as a revenue stream, I create video content and publish it on YouTube”).3 The

first sentence of the YPP Terms states that “the YouTube Terms of Service . . . which may be

updated from time to time . . . are incorporated herein by reference.” Decl. ¶ 10 & Ex. B at 1. The

YPP Terms further state that “[t]he governing law and dispute resolution provisions of the

YouTube Terms of Service will also apply to these Terms.” Decl. ¶ 10 & Ex. B at 2.

        The TOS includes and has included, at all relevant times, an express forum-selection clause

designating the federal or state courts of Santa Clara County, California as the required venue for

litigation arising out of the YouTube Service. Decl. ¶ 4. This is the version of the provision

applicable to all current users (id.):

        All claims arising out of or relating to these terms or the Service will be governed
        by California law, except California’s conflict of laws rules, and will be litigated
        exclusively in the federal or state courts of Santa Clara County, California, USA.
        You and YouTube consent to personal jurisdiction in those courts.

Ex. A at 15 (https://www.youtube.com/t/terms). “Service” is a defined term in the TOS that

encompasses “the YouTube platform and the products, services and features we make available to




    3
     The revenue Plaintiff earns from YouTube pursuant to the YPP Terms, allegedly threatened
by copyright infringement, is “central to [the] plaintiff[’s] claim.” Schaefer, 731 F.3d at 100, n. 1.



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you as part of the platform[.]” Id. at 2. Santa Clara County, California lies within the Northern

District of California. See 28 U.S.C. § 84(a).4

       YouTube’s Terms also provide that users, by uploading video content to the service, “grant

to YouTube a worldwide, non-exclusive, royalty-free, sublicensable and transferable license to use

that [c]ontent (including to reproduce, distribute, prepare derivative works, display and perform

it) in connection with the Service and YouTube’s . . . business.” Ex. A at 8; accord Bus. Casual

Holdings, LLC v. YouTube, LLC, 2022 U.S. Dist. LEXIS 50166, at *2 (S.D.N.Y. Mar. 21, 2022),

appeal docketed, No. 22-3007 (2d Cir. Nov. 23, 2022) (quoting the license provision of the TOS).

Accordingly, any videos that Plaintiff uploaded to YouTube—including videos that were allegedly

infringed by the other defendants—have been licensed to YouTube pursuant to the TOS that

Plaintiff agreed upon.

       B.      DeCastro’s Claims

       On September 2, 2022, Plaintiff Jose Maria DeCastro filed his original Complaint solely

against Defendants Kate Peter and Joshua Abrams (the “Individual Defendants”). ECF No. 1. That

Complaint asserted claims of defamation (Counts I & II) and intentional infliction of emotional

distress (Count III) against the Individual Defendants, but did not assert any claims against Google

or any copyright infringement claims against anyone else. Id. at 6-10.

       On November 16, 2022, Plaintiff filed his First Amended Complaint (“FAC”), replacing

the three counts of his original complaint with a new “Count I” alleging copyright infringement

against the Individual Defendants and unidentified John Does. FAC (ECF No. 62) at 3-4. Plaintiff

styles his FAC as a complete pleading in itself with no reference to his original claims, and it was


   4
      Because many millions of users create channels and upload videos on YouTube’s website
free of charge, the forum-selection clause is necessary to manage the costs of litigation and reduce
the burden to YouTube that would arise if the company were forced to litigate claims all over the
world. Decl. ¶ 5; accord Song fi, 72 F. Supp. 3d at 64.



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recognized by the Court as “an amended complaint pursuant to Rule 15(a)(1)(B) of the Federal

Rules of Civil Procedure.” Electronic Order (ECF No. 65). The FAC thus “supersedes the

antecedent complaint,” “replac[ing] the original complaint lock, stock, and barrel.” ConnectU LLC

v. Zuckerberg, 522 F.3d 82, 91 (1st Cir. 2008).

        On December 2, 2022, Plaintiff filed a Supplemental Complaint adding Google to the case

caption as a defendant for the first time. Supp. Compl. (ECF No. 79). It does not list any counts

against Google or include a prayer for relief against Google, but the Factual Background section

alleges that “[u]pon receiving notices of copyright infringement . . . by Plaintiff under 17 U.S.C.

§ 512(c)(3), YouTube . . . failed to take down infringing content on [its] service,” having

“determined on multiple occasions that [the purportedly infringing] content is exempt from

takedown under the [Digital Millennium Copyright Act] due to copyright fair use.” Supp. Compl.

¶¶ 12-13; see also 17 U.S.C. § 512 (DMCA safe harbor provision). Although he attaches a list of

URLs supposedly constituting “his” works, he does not allege that any of them have been

registered with the Copyright Office. Plaintiff also does not identify which specific videos were

infringed, where on YouTube those works were infringed, which (if any) of those infringements

became the subject of notices to YouTube, or any other supporting facts explaining the nature of

the infringement. Plaintiff (wrongly) asserts the legal conclusion that YouTube’s inaction was “in

violation of the DMCA and its standard technical measures” because he “notified [YouTube] that

[he] had filed a court action.” Id. ¶ 13.

        On April 24, 2023, Plaintiff filed a Second Supplemental Complaint. 2d Supp. Compl.

(ECF No. 118). The Second Supplemental Complaint adds no allegations concerning conduct by

YouTube, saying only that “[s]ince the filing of the FAC and the Supplemental Complaint, all

Defendants including unknown ones, have committed additional copyright and DMCA violations




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against Plaintiff.” 2d Supp. Compl. ¶¶ 1, 3. This time he includes a list of URLs where his supposed

works were infringed, but he does not specify which URLs infringed which original works, or

provide any other details explaining the nature of the infringement. Id. ¶ 3. And once again, he

fails to allege that any of these URLs infringed upon copyrighted works that he has registered with

the Copyright Office.

       In sum, none of Plaintiff’s complaints identify any allegedly copyrighted works he actually

owns and registered, except to vaguely assert the existence of “over 800 videos,” all of which he

allegedly         published           to          his        YouTube            channel           at

https://www.youtube.com/channel/UCF08Wb_1z0ONDwh4Lvhu2AA/ (and thus licensed to

YouTube pursuant to the TOS). FAC ¶ 13. And despite having filed four complaints to date, he

still has not identified which specific videos posted by which specific defendants infringed which

specific works, let alone the nature of that infringement or whether those infringements concern

any works registered with the Copyright Office.

III.   THE COURT SHOULD TRANSFER PLAINTIFF’S CLAIMS AGAINST GOOGLE
       TO THE NORTHERN DISTRICT OF CALIFORNIA

       A.      The Parties Agreed to a Binding Forum-Selection Clause Which Requires
               This Case To Be Litigated in the Northern District of California

       “When the parties have agreed to a valid forum-selection clause, a district court should

ordinarily transfer the case to the forum specified in that clause.” Atl. Marine, 571 U.S. at 62;

accord 28 U.S.C. § 1404(a) (permitting transfer “to any district . . . to which all parties have

consented”). “Only under extraordinary circumstances unrelated to the convenience of the parties

should a § 1404(a) motion be denied.” Id. (emphasis added); accord Kurra v. Synergy Comput.

Sols., Inc., 2016 U.S. Dist. LEXIS 127248, at *19 (D. Mass. Sept. 19, 2016) (Burroughs, J.)

(quoting Atlantic Marine); Europa Eye Wear Corp. v. Kaizen Advisors, LLC, 390 F. Supp. 3d 228,

230 (D. Mass. 2019) (“After Atlantic Marine, ‘in the vast majority of cases when a forum-selection



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clause is included, a § 1404(a) motion to transfer will be allowed.’”) (quoting Kebb Mgmt. v. Home

Depot U.S.A., Inc., 59 F. Supp. 3d 283, 287 (D. Mass. 2014)).

       Because a forum-selection clause “represents the parties’ agreement as to the most proper

forum,” the presence of such a clause requires that certain “adjustments” be made to the regular

§ 1404(a) analysis. Atl. Marine, 571 U.S. at 62-63 (citation omitted). As relevant here, these

adjustments dictate that “the plaintiff’s choice of forum ‘merits no weight,’” “the district court

‘should not consider arguments about the parties’ private interests,’” and “[o]nly public interest

factors can be considered, however those factors ‘will rarely defeat a transfer motion’.” Reynoso

v. Lasership, Inc., 322 F. Supp. 3d 211, 215 (D. Mass. 2018) (quoting Atl. Marine, 571 U.S. at 63-

64). Further, the plaintiff “bear[s] the burden of showing why the court should not transfer the case

to the forum to which the parties agreed.” Atl. Marine, 571 U.S. at 64; see also Carnival Cruise

Lines, Inc. v. Shute, 499 U.S. 585, 595 (1991) (party seeking to avoid a forum-selection clause

bears a “heavy burden of proof”) (citation omitted).

       Applying these principles, courts in this District routinely enforce forum-selection clauses.

See, e.g., Cervantes v. CRST Int’l, Inc., 2020 U.S. Dist. LEXIS 139189, at *8 (D. Mass. Aug. 5,

2020); Firemen’s Ins. Co. v. Ace Am. Ins. Co., 390 F. Supp. 3d 267, 275 (D. Mass. 2019); Power

Prods. Sales & Serv. Inc. v. Hydratight, Inc., 2019 U.S. Dist. LEXIS 175404, at *8 (D. Mass. Oct.

9, 2019); Kebb Mgmt., 59 F. Supp. 3d at 289. The same result is required here: Plaintiff’s claims

are governed by a binding forum-selection clause; that provision requires that this litigation

proceed in the Northern District of California; and no extraordinary circumstances preclude a

transfer to the parties’ designated federal forum.

               1.      The Forum-Selection Clause Governs Plaintiff’s Claims

       Plaintiff is a YouTube user, and in creating his channel, he affirmatively agreed to

YouTube’s TOS, including its forum-selection clause. See Decl. ¶¶ 7-10; accord Am. Compl. ¶¶ 3-



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4, 13-14, 17; Supp. Compl. ¶ 9. The broad language of the forum-selection clause readily

encompasses Plaintiff’s claim that “YouTube . . . failed to take down infringing content on their

service” (Supp. Compl. ¶ 12) and “determined on multiple occasions that content is exempt from

takedown under the DMCA due to copyright fair use” (id. ¶ 13).

       The governing forum-selection clause applies to “[a]ll claims arising out of or relating to

these terms or the Service[.]” Ex. A at 15. As noted above, the term “Service” is expressly defined

as “the YouTube platform and the products, services and features we make available to [users].”

Id. at 2. The phrase “relating to” is interpreted broadly, and “mean[s] simply connected by reason

of an established or discoverable relation.” Huffington v. T.C. Grp., Inc., 637 F.3d 18, 22 (1st Cir.

2011) (internal quotation marks omitted); see also Peak v. TigerGraph, Inc., 2021 U.S. Dist.

LEXIS 70152, at *7-8 (D. Mass. Apr. 9, 2021) (same, transferring case based on forum-selection

clause covering “any disputes . . . arising out of, related to, or in any way connected with” the

relationship between the parties); Kebb Mgmt., 59 F. Supp. 3d at 287 (“[T]he forum-selection

provisions cover any disputes ‘relating to’ or ‘in connection with’ the MSA. Those provisions are

generally construed quite broadly.”).

       It is clear from the Amended Complaint and the Supplemental Complaint that Plaintiff’s

claims against Google fall within the clause’s broad scope. The claims arise from the alleged

copying of Plaintiff’s videos from YouTube, the Individual Defendants allegedly uploading

unspecified infringing videos to YouTube, and Google’s alleged decision not to take down those

videos from YouTube. See FAC ¶¶ 3-4, 13-17; Supp. Compl. ¶¶ 9-15. Though the claims are not

cognizable under the Copyright Act, they indisputably “aris[e] out of or relat[e]” to the YouTube

service. Ex. A at 15. Claims challenging YouTube’s decisions about “tak[ing] down infringing

content on their service” (Supp. Compl. ¶ 12) clearly arise from and relate to the service. See, e.g.,




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Kifle v. YouTube LLC, 2021 U.S. Dist. LEXIS 168267, at *9 (N.D. Ga. Mar. 12, 2021) (holding

that plaintiff’s copyright infringement claims were within the scope of YouTube’s forum-selection

clause where plaintiff had uploaded those videos to YouTube); Kijimoto v. Youtube, LLC, 2018

U.S. Dist. LEXIS 225915, at *6 (C.D. Cal. Jan. 30, 2018) (enforcing YouTube’s forum-selection

clause in a copyright action).5

                2.      YouTube’s Forum-Selection Clause Is Enforceable

        “A forum selection clause is ‘prima facie valid’ and, absent a ‘strong showing’ by the

resisting party that the clause is ‘‘unreasonable’ under the circumstances,’ it should not be set

aside.” Claudio-de León v. Sistema Universitario Ana G. Mėndez, 775 F.3d 41, 48 (1st Cir. 2014)

(quoting M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10 (1972)); see also Peak, 2021 U.S.

Dist. LEXIS 70152, at *9-10 (same); Kurra, 2016 U.S. Dist. LEXIS 127248, at *20 (similar)

(citing Rivera v. Centro Medico de Turabo, Inc., 575 F.3d 10, 18 (1st Cir. 2009)). Courts have

consistently held that forum-selection clauses in standard-form online agreements—like the

YouTube TOS that Plaintiff expressly accepted (Decl. ¶¶ 9-10)—are valid and enforceable. See,

e.g., CR Assocs. L.P. v. Sparefoot, Inc., 2018 U.S. Dist. LEXIS 26438, at *8-9, 15 (D. Mass. Feb.

20, 2018) (enforcing a forum-selection clause and observing that “[t]here is nothing

unconscionable or unfair about the provision here” where “Sparefoot requires each new client to

agree to . . . terms of use” online).

        YouTube’s forum-selection clause, in particular, has repeatedly been applied. Every

federal court that has considered a transfer motion based on YouTube’s TOS has enforced the


    5
      Plaintiff also complains (incorrectly) that Google is in violation of the DMCA, specifically
17 U.S.C. § 512(i). See Supp. Compl. ¶¶ 11, 13-15. This is not a count of the complaint, nor could
it be, because “alleged failures to satisfy the conditions of a DMCA safe harbor provision cannot
constitute a cause of action without a viable underlying claim for copyright infringement.” Bus.
Casual Holdings, 2022 U.S. Dist. LEXIS 50166, at *13. But if it was, it would certainly “aris[e]
out of or relat[e]” to the YouTube service. Ex. A at 15.



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clause, finding no procedural or substantive issues with its requirement that litigation relating to

YouTube’s service or TOS proceed in the Northern District of California. See, e.g., Song fi, 72 F.

Supp. 3d at 62-64 (“[I]t is not improper for YouTube to require that claims against it be brought

in the non-arbitrary forum where it resides.”); Kifle, 2021 U.S. Dist. LEXIS 168267, at *9

(transferring case brought by YouTube user despite Plaintiff “point[ing] to evidence that California

will be a less convenient forum for him”); Lewis v. Google, Inc., 2019 U.S. Dist. LEXIS 223263,

at *6 (D. Co. Dec. 31, 2019) (“Plaintiff has failed to cast any doubt on the validity of the Forum

Selection Clause, and so the Atlantic Marine analysis applies here.”); Ramani v. YouTube, LLC,

2019 U.S. Dist. LEXIS 197106, at *4 (S.D.N.Y. Nov. 12, 2019) (“The Court concludes that

YouTube’s forum selection clause controls and transfers the action to the United States District

Court for the Northern District of California.”); Muhammad, 2019 U.S. Dist. LEXIS 92358, at *7-

8 (finding “no evidence or jurisprudence to show that the forum-selection clause was induced by

fraud or overreaching”); Biltz v. Google, Inc., 2018 U.S. Dist. LEXIS 112632, at *12-16 (D. Haw.

July 6, 2018) (finding no fraud or overreaching); Kijimoto, 2018 U.S. Dist. LEXIS 225915, at *5-

9 (holding that “the forum-selection clause of the TOS is controlling”); Bowen v. YouTube, Inc.,

2008 U.S. Dist. LEXIS 122337, at *6 (W.D. Wash. Apr. 15, 2008) (“The Court concludes that the

forum selection clause herein is valid [and] enforceable.”).

       That unbroken line of cases reflects the mandatory nature of the forum-selection provision,

which states that covered claims “will be litigated exclusively in the federal or state courts of Santa

Clara County, California[.]” Ex. A at 15 (emphasis added); see, e.g., Bowen, 2008 U.S. Dist.

LEXIS 122337, at *6 (explaining that YouTube’s clause is “cast in mandatory terms”); DeLima v.

Google, Inc., 561 F. Supp. 3d 123, 138 (D.N.H. 2021) (“Any future claim arising out of the

AdSense or similar agreement for Google-owned services, however, must be brought in the




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Northern District of California as a result of the presumptively enforceable and mandatory forum

selection clause in that agreement and Google and YouTube’s general terms of service.”). The

“choice of the word ‘will’ - a word ‘commonly having the mandatory sense of ‘shall’ or ‘must,’

. . . demonstrates [the parties’] exclusive commitment to the . . . named forums.” Summit

Packaging Sys., Inc. v. Kenyon & Kenyon, 273 F.3d 9, 12 (1st Cir. 2001) (quoting Black’s Law

Dictionary 1102 (6th ed. 1991)); accord Barletta Heavy Div., Inc. v. Erie Interstate Contractors,

Inc., 677 F. Supp. 2d 373, 376 (D. Mass. 2009) (same, citing Summit Packaging).

       B.      Plaintiff Cannot Carry the Heavy Burden Necessary to Overcome the
               Forum-Selection Clause

       To prevent the transfer of a case like this one involving a valid forum-selection clause,

Plaintiff would need to “bear the burden of showing that public-interest factors overwhelmingly

disfavor a transfer.” Atl. Marine, 571 U.S. at 66-67 (emphasis added). He cannot do so. This is not

among the “rare[]” circumstances where public-interest factors can “defeat a transfer motion[.]”

Id. at 64. Nor can Plaintiff invoke his private interests to keep his claims in this District. “When

parties agree to a forum-selection clause, they waive the right to challenge the preselected forum

as inconvenient or less convenient for themselves or their witnesses, or for their pursuit of the

litigation. A court accordingly must deem the private-interest factors to weigh entirely in favor of

the preselected forum.” Id.

       In short, under the clear terms of the governing agreement, the parties agreed to resolve

claims like these in a different forum. By filing in this Court, Plaintiff disregarded that agreement,

and so a transfer is required.6


   6
     Under Section 1404(a), the Court has discretion to transfer the entire case, including the
claims against the Individual Defendants, who also agreed to the same forum-selection clause
when allegedly posting infringements on YouTube. See, e.g., Answer and Counterclaims of Joshua
Abrams (ECF No. 53) ¶¶ 5-6 (admitting to having YouTube channels); Answer and Counterclaims
                                                                                  (continued...)



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IV.    IN THE ALTERNATIVE, PLAINTIFF’S CLAIMS AGAINST GOOGLE
       SHOULD BE DISMISSED

       Plaintiff’s claims against Google fail as a matter of law, come nowhere close to meeting

pleading standards, and thus should be dismissed on the merits.

       A.      Pleading Failures Are Fatal to Plaintiff’s Amended Complaint

       The most obvious deficiency in Plaintiff’s claims is his failure to allege that any of his

allegedly infringed works were registered with the Copyright Office before he filed suit, which

alone requires dismissal. The Copyright Act and recent Supreme Court precedent leave no doubt

that “no action for infringement of the copyright in any United States work shall be instituted until

registration of the copyright claim has been made in accordance with this title.” 17 U.S.C. § 411(a);

accord Fourth Estate Pub. Ben. Corp., LLC, 139 S. Ct. at 888 (“outside of statutory exceptions

not applicable here, §411(a) bars a copyright owner from suing for infringement until ‘registration

. . . has been made”’). Where a plaintiff “did not register her copyright before filing suit,”

“dismissal of the suit under Fourth Estate [is] proper.” Foss v. Marvic Inc., 994 F.3d 57, 62 (1st

Cir. 2021). This pre-registration requirement is a bright-line rule, and the burden is on Plaintiff to

satisfy it. It is not surprising that the First Circuit has held that, where a copyright “complaint did

not allege that registration had been obtained prior to suit,” the complaint should be dismissed for

lack of “sufficiency of the complaint.” Cortés-Ramos v. Martin-Morales, 956 F.3d 36, 43 (1st Cir.

2020). The Court need go no further.




of Kate Peter (ECF No. 54) ¶ 7 (admitting to having a YouTube channel); Decl. ¶ 7 (users must
agree to TOS to create a YouTube channel). The Court could also exercise its discretion to sever
Plaintiff’s claims against Google under Fed. R. Civ. P. 21 and transfer only those claims. See, e.g.,
In re Rolls Royce Corp., 775 F.3d 671, 681 (5th Cir. 2014) (granting mandamus petition to require
district court to sever and transfer claims); In re Howmedica Osteonics Corp., 867 F.3d 390, 411
(3d Cir. 2017) (same); Valspar Corp. v. E.I. DuPont de Nemours & Co., 15 F. Supp. 3d 928, 932
(D. Minn. 2014), aff’d, 873 F.3d 185 (3d Cir. 2017) (“If the Court were to conclude the pertinent
factors render transfer appropriate under § 1404(a), then severance, too, would be proper.”).



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       But there is more. Plaintiff’s barebones complaints come nowhere close to alleging

plausible facts that give rise to an inference that infringement occurred. See Iqbal, 556 U.S. at 678.

“To state a claim for copyright infringement, [Plaintiff] must plausibly allege ‘(1) ownership of a

valid copyright, and (2) copying of constituent elements of the work that are original.’” Kenney v.

Warner Bros. Entm’t, Inc., 984 F. Supp. 2d 9, 12 (D. Mass. 2013) (quoting Feist Publ’ns, Inc. v.

Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991)). To establish the second of those elements, Plaintiff

must allege that “‘the copying of the copyrighted material was so extensive that it rendered the

infringing and copyrighted works ‘substantially similar.’” Id. (quoting Johnson v. Gordon, 409 F.

3d 12, 18 (1st Cir. 2005)). Yet, as detailed above (supra at § II.B.), Plaintiff alleges nothing about

the particular works being copied or the nature of the nature of the supposed copying, beyond

broad conclusory statements that reveal nothing of substance. See FAC ¶¶ 4 (“Defendants . . . .

publish content to YouTube that largely only copies my content.”), 15 (“Defendant YouTube

publishers have copied large portions of my copyrighted content on their YouTube channels.”).

This is nowhere near enough to survive a motion to dismiss. See Tr. Safe Pay, LLC v. Dynamic

Diet, LLC, 2018 U.S. Dist. LEXIS 125978, at *16 (D. Mass. July 27, 2018) (dismissing complaint

where Plaintiff “fails to make a prima facie showing of direct copyright infringement by

defendants: it is unclear whether plaintiff has satisfied the preregistration requirement; [Plaintiff]

has not identified adequately the protected material or defendants’ infringement of it; and the court

is unable to determine whether there is substantial similarity between the parties’ materials”).

       B.      Plaintiff Licensed His Videos to YouTube

       Plaintiff’s infringement claims against Google fail also because the only videos he claims

were copied were videos that he had previously uploaded to YouTube (e.g., Supp. Compl. ¶¶ 9-

10), and thus had already been licensed to YouTube. “It is a hallmark principle of copyright law

that licensors may not sue their licensees for copyright infringement.” Jasper v. Sony Music



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Entm’t, Inc., 378 F. Supp. 2d 334, 339 (S.D.N.Y. 2005); accord Estate of Hevia v. Portrio Corp.,

602 F.3d 34, 41 (1st Cir. 2010) (holding that use of a copyrighted work within the bounds of a

license is noninfringing). “A copyright owner waives the right to sue . . . for uses of copyrighted

material that are authorized by a non-exclusive license.” Great Minds v. FedEx Office & Print

Servs., Inc., 886 F.3d 91, 94 (2d Cir. 2018); accord MDY Indus., LLC v. Blizzard Entm’t, Inc., 629

F.3d 928, 939 (9th Cir. 2010).

       “A defendant may raise a complete defense to a copyright infringement claim by presenting

the court with the license or sublicense on a motion to dismiss[.]” Spinelli v. NFL, 96 F. Supp. 3d

81, 121 (S.D.N.Y. 2015). When presented with such a license that covers the allegedly infringing

activity, courts consistently dismiss claims of copyright infringement. See, e.g., Nadav v.

Beardwood & Co. LLC, 2018 U.S. Dist. LEXIS, at *9-10 (S.D.N.Y. Jan. 17, 2018) (dismissing

copyright claim on the basis of an applicable license); Spinelli, 96 F. Supp. 3d at 121-30 (same);

Atlantis Info. Tech., GmbH v. CA, Inc., 485 F. Supp. 2d 224, 234 (E.D.N.Y. 2007) (same); Ariel

(UK) Ltd. v. Reuters Grp., PLC, 2006 U.S. Dist. LEXIS 79319, at *30-32 (S.D.N.Y. Oct. 31,

2006), aff’d, 277 F. App’x 43 (2d Cir. 2008) (same); Jasper, 378 F. Supp. 2d at 342 (same); see

also Great Minds, 886 F.3d 91 (affirming dismissal).

       In creating his channel and posting content to YouTube free of charge, Plaintiff accepted

YouTube’s Terms of Service (TOS) and reaffirmed his acceptance when he joined the YouTube

Partner Program to monetize those videos. Decl. ¶¶ 7-10. In so doing, he agreed to a provision

described above, titled “License to YouTube”: “By providing Content to the Service, [the user]

grant[s] to YouTube a worldwide, non-exclusive, royalty-free, sublicensable and transferable

license to use that Content (including to reproduce, distribute, prepare derivative works, display

and perform it) in connection with the Service and YouTube’s . . . business.” Ex. A at 8. “The




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License is broad,” and “[u]nder the plain language of the License, YouTube cannot be liable for

directly infringing any copyrights associated with any content that [Plaintiff] has uploaded to its

channel.” Bus. Casual Holdings, 2022 U.S. Dist. LEXIS 50166, at *12 (dismissing infringement

claims against Google and YouTube based on the same license from YouTube’s TOS). This, by

itself, disposes of Plaintiff’s infringement claims against Google.7

V.       CONCLUSION

         WHEREFORE, Google respectfully asks the Court to grant its motion and transfer the case

as against Google to the Northern District of California, or, in the alternative, to dismiss the case

as against Google with prejudice.




     7
     Plaintiff’s complaints do not say whether he is attempting to state a claim against Google for
direct or secondary copyright infringement. Google reserves the right to advance additional
arguments if Plaintiff is granted leave to clarify his claims in another amended complaint.



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Dated: May 23, 2023                          Respectfully submitted,
                                             GOOGLE LLC

                                             By its attorneys,

Benjamin Margo (pro hac vice pending)        s/ Matthew D. Gorman
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

       Undersigned counsel certifies that counsel for Defendant Google LLC (“Google”)

conferred with pro se Plaintiff Jose DeCastro and counsel for Defendants Joshua Abrams and Kate

Peter in good faith to narrow or resolve the issues raised through this motion but could not avoid

motion practice. Plaintiff opposes Google’s motion to transfer and its motion to dismiss. Defendant

Abrams assents to the transfer motion regarding the transfer of claims against Google only. To the

extent the Court is inclined to transfer any other claims, Mr. Abrams requests the opportunity to

put his position in writing. Google understands that Defendant Peter similarly opposes Google’s

motion to transfer to the extent that claims involving Ms. Peter would be transferred.



Dated: May 23, 2023                          Respectfully submitted,

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                                             Professional Corporation

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                                CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the District of Massachusetts CM/ECF

system and will be sent electronically to all registered participants as identified on the Notice of

Electronic Filing (“NEF”) and paper copies will be sent to those indicated as non-registered

participants.



Dated: May 23, 2023                           Respectfully submitted,

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